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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



 WILLIAM K. BOSS, M.D.,
                                                           Index No.:
                                  Plaintiff,

                      -against-
                                                           COMPLAINT
 UNITED HEALTHCARE INSURANCE
 COMPANY,

                                  Defendant.


       Plaintiff, William K. Boss M.D. (“Plaintiff”), on assignments from Madison E. and Coby

E., by and through his attorneys, Schwartz Sladkus Reich Greenberg Atlas LLP, by way of

Complaint against United Healthcare Insurance Company (“Defendant”), alleges as follows:

                          PARTIES, JURISDICTION, AND VENUE

       1.      Plaintiff is a New Jersey medical practitioner registered to do business in the State

of New Jersey with a principal place of business at 305 Route 17, Paramus, New Jersey 07652.

       2.      Upon information and belief, Defendant is engaged in administering health care

plans or policies in the state of New Jersey.

       3.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331 and 29 U.S.C.

§ 1132(e). The insurance policies at issue are governed by the Employee Retirement Income

Security Act (“ERISA”), 29 U.S.C. § 1001 et seq. The administrative remedies have been

exhausted.

                                    FACTUAL BACKGROUND

       4.      Plaintiff is a medical provider who specializes in plastic surgery and often treats

patients in emergency situations.



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        5.      On December 10, 2018, Plaintiff performed emergency surgery on Madison E.

(“Patient 1”), in Hackensack University Medical Center. (See, Exhibit A, attached hereto.)

        6.      At the time of her treatment, Patient 1 was the beneficiary of an employer-based

health insurance plan for which Defendant served as claims administrator.

        7.      Patient assigned her health insurance rights and benefits to Plaintiff. (See, Exhibit

B, attached hereto)

        8.      After treating Patient 1, Plaintiff submitted a Health Care Financing

Administration (“HCFA”) medical bill to Defendant demanding payment for the performed

treatment in the total amount of $9,650.00. (See, Exhibit C, attached hereto)

        9.      As an out-of-network provider, Plaintiff does not have a network contract with

Defendant that would determine or limit payment for Plaintiff’s treatment of Defendant’s

members.

        10.     On or around January 8, 2019, Defendant issued payment for Plaintiff’s services

in the total amount of $1,215.35 (See, Exhibit D, attached hereto.)

        11.      Defendant indicated that the remaining $8,434.65 in Plaintiff’s charges were

neither Defendant’s nor Patient 1’s responsibility even though Plaintiff never agreed to any such

arrangement. Id.

        12.     Subsequently, Plaintiff submitted multiple internal appeals to Defendant,

challenging Defendant’s reimbursement as an underpayment pursuant to the terms of Patient 1’s

applicable insurance plan.

        13.     However, Defendant failed to issue any additional payment in response to

Plaintiff’s internal appeals.




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        14.     On December 12, 2018, Plaintiff performed emergency surgery on Coby E.

(“Patient 2”), in Hackensack University Medical Center to treat a complex skin laceration. (See,

Exhibit E, attached hereto.)

        15.     At the time of his treatment, Patient 2 was the beneficiary of an employer-based

health insurance plan for which Defendant served as claims administrator.

        16.     Patient assigned his health insurance rights and benefits to Plaintiff. (See, Exhibit

F, attached hereto)

        17.     After treating Patient 2, Plaintiff submitted a Health Care Financing

Administration (“HCFA”) medical bill to Defendant demanding payment for the performed

treatment in the total amount of $7,900.00. (See, Exhibit G, attached hereto)

        18.     On or around January 8, 2019, Defendant issued payment for Plaintiff’s services

in the total amount of $991.06 and applied an additional $80.12 towards Patient 2’s deductible.

(See, Exhibit H, attached hereto.)

        19.       Defendant indicated that the remaining $6,828.82 in Plaintiff’s charges were

neither Defendant’s nor Patient 2’s responsibility even though Plaintiff never agreed to any such

arrangement. Id.

        20.     Subsequently, Plaintiff submitted multiple internal appeals, challenging

Defendant’s reimbursement as an underpayment pursuant to the terms of Patient 2’s applicable

insurance plan.

        21.     However, Defendant failed to issue any additional payment in response to

Plaintiff’s internal appeals.




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       22.     Upon information and belief, the insurance plans applicable to Patient 1 and

Patient 2 limit member cost-sharing for emergency treatment to coinsurance and deductible

charges.

       23.     As reflected in Defendant’s Explanation of Benefits, Plaintiff’s emergency

treatment of Patient 1 was not subject to any coinsurance or deductible charges. (See, Exhibit

D.)

       24.     As reflected in Defendant’s explanation of benefits, the total amount of deductible

and/or coinsurance charges applicable to Plaintiff’s emergency treatment of Patient 2 was

$80.12. (See, Exhibit H.)

       25.     Therefore, Defendant should have issued payment for all of Plaintiff’s charges

except for the deducible charge of $80.12 applicable to Patient 2.

       26.     The total amount in Plaintiff’s charges when combining the charges for Plaintiff’s

treatment of Patient 1 with Plaintiff’s treatment of Patient 2 is $17,550.00.

       27.     The total amount Defendant should have paid Plaintiff after subtracting the

applicable deductible charge of $80.12 is $17,469.88.

       28.     The total amount Defendant actually paid Plaintiff is $2,206.41.

       29.     Defendant has thus failed to issue payment in accordance with the applicable

insurance plan terms and Plaintiff has thus been damaged in the amount of $15,263.47.

       30.     Accordingly, Plaintiff brings this action for recovery of the outstanding balance,

and Defendant’s breach of fiduciary duty.




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                                            COUNT ONE

   FAILURE TO MAKE PAYMENTS PURSUANT TO MEMBER’S PLAN UNDER 29
                        U.S.C. § 1132(a)(1)(B)

       31.        Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 30

of the Complaint as though fully set forth herein.

       32.        Plaintiff avers this Count to the extent ERISA governs this dispute.

       33.        Section 502(a)(1), codified at 29 U.S.C. § 1132(a) provides a cause of action for a

beneficiary or participant seeking payment under a benefits plan.

       34.        Plaintiff has standing to seek such relief based on the assignments of benefits

obtained by Plaintiff from Patient 1 and Patient 2.

       35.        Upon information and belief, Defendant acted in a fiduciary capacity in

administering any claims determined to be governed by ERISA.

       36.        Plaintiff is entitled to recover benefits due to Patient under any applicable ERISA

plan or policy.

       37.        As a result, Plaintiff has been damaged and continues to suffer damages in the

operation of its medical practice.

                                             COUNT TWO

   BREACH OF FIDUCIARY DUTY AND CO-FIDUCIARY DUTY UNDER 29 U.S.C.
           § 1132(a)(3), 29 U.S.C. § 1104(a)(1) and 29 U.S.C. § 1105 (a)


       38.        Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 37

of the Complaint as though fully set forth herein.

       39.        29 U.S.C. § 1132(a)(3)(B) provides a cause of action by a participant, beneficiary,

or fiduciary to obtain other appropriate equitable relief (i) to redress such violations or (ii) to

enforce any provisions of this subchapter or the terms of the plan.



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       40.     Plaintiff seeks redress for Defendant’s breach of fiduciary duty and/or

Defendant’s breach of co-fiduciary duty under 29 U.S.C. § 1132(a)(3), 29 U.S.C. § 1104(a)(1)

and 29 U.S.C. § 1105 (a).

       41.     29 U.S.C. § 1104(a)(1) imposes a “prudent man standard of care” on fiduciaries.

       42.      Specifically, a fiduciary shall discharge its duties with respect to a plan solely in

the interest of the participants and beneficiaries and (A) for the exclusive purpose of: (i)

providing benefits to participants and their beneficiaries; and (ii) defraying reasonable expenses

of administering the plan; (B) with the care, skill, prudence, and diligence under the

circumstances then prevailing that a prudent man acting in a like capacity and familiar with such

matters would use in the conduct of an enterprise of a like character and with like aims; (C) by

diversifying the investments of the plan so as to minimize the risk of large losses, unless under

the circumstances it is clearly prudent not to do so; and (D) in accordance with the documents

and instruments governing the plan insofar as such documents and instruments are consistent

with the provisions of this subchapter and subchapter III of this chapter. 29 U.S.C. § 1104(a)(1).

       43.     29 U.S.C. § 1105(a) imposes liability for breaches of co-fiduciaries.

       44.     Specifically, a fiduciary with respect to a plan shall be liable for a breach of

fiduciary responsibility of another fiduciary with respect to the same plan in the following

circumstances: (1) if he participates knowingly in, or knowingly undertakes to conceal, an act or

omission of such other fiduciary, knowing such act or omission is a breach; (2) if, by his failure

to comply with section 1104(a)(1) [“prudent man standard of care] of this title in the

administration of his specific responsibilities which give rise to his status as a fiduciary, he has

enabled such other fiduciary to commit a breach; or (3) if he has knowledge of a breach by such




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other fiduciary, unless he makes reasonable efforts under the circumstances to remedy the

breach. 29 U.S.C. § 1105(a).

       45.    Here, when Defendant acted to partially deny payment for the medical bill at

issue, and when they responded to the administrative appeals initiated by Plaintiff, they were

clearly acting as a “fiduciary” as that term is defined by ERISA § 1002(21)(A) because, among

other reasons, Defendant acted with discretionary authority or control to deny the payment and to

manage the administration of the employee benefit plan at issue as described above.

       46.    Here, Defendant breached its fiduciary duties by: (1) failing to issue an Adverse

Benefit Determination in accordance with the requirements of ERISA and applicable regulations;

(2) participating knowingly in, or knowingly undertaking to conceal, an act or omission of such

other fiduciary, knowing such act or omission is a breach; (3) failing to make reasonable efforts

under the circumstances to remedy the breach of such other fiduciary; and (4) wrongfully

withholding money belonging to Plaintiff.




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                                       CLAIM FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:

       A.     For an Order directing Defendant to pay Plaintiff $15,263.47;
       B.     For an Order directing Defendant to pay Plaintiff all benefits Patient 1 and Patient
              2 would be entitled to under their applicable insurance policy administered by
              Defendant;
       C.     For compensatory damages and interest;
       D.     For attorney’s fees and costs of suit; and
       E.     For such other and further relief as the Court may deem just and equitable.




Dated: New York, NY
       February 4, 2020
                                                    SCHWARTZ SLADKUS
                                                    REICH GREENBERG ATLAS LLP
                                                    Attorneys for Plaintiff


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